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5
6    Attorney for Defendant
     JUAN CARLOS MONTALBO
7
8
                     IN THE UNITED STATES DISTRICT COURT
9
                    FOR THE EASTERN DISTRICT OF CALIFORNIA
10
11
12   UNITED STATES OF AMERICA,       ) Case No. 2:16-CR-0092 JAM
                                     )
13           Plaintiff,              )
                                     ) WAIVER OF APPEARANCE FOR
14                         vs.       ) DEFENDANT MONTALBO; ORDER
                                     ) APPROVING WAIVER
15   JUAN CARLOS MONTALBO,           )
                                     )
16           Defendant.              )
                                     )
17                                   )

18
19        I, Juan Carlos Montalbo, hereby waive the right to be

20   present in person in open court upon the hearing of any motion

21   or other proceeding in this case, including, but not limited to,
22   when the case is ordered set for trial, when a continuance is

23   ordered, and when any other action is taken by the court before

24   or after hearing, except upon arraignment, plea, jury selection,
25   trial, and sentencing.      I request that the court proceed during

26   every absence the court may permit pursuant to this waiver.      I

27   agree that my interests will be deemed represented at all times
28   by the presence of my attorney, the same as if I were personally

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1    present, and I further agree to be present in court ready for

2    hearing any day and hour the court may fix in my absence.

3         I have been informed of my rights under the Speedy Trial

4    Act, 18 U.S.C. §§ 3161-3174, and I authorize my attorney to set

5    times and delays under the Act without me being present.

6
7    Dated:   June 15, 2016            /s/ J. Montalbo (FPD has orig.)
                                       JUAN CARLOS MONTALBO
8
                                       Defendant
9
10        I concur in Mr. Montalbo’s decision to waive his appearance
11   at the proceedings noted above.
12
                                       HEATHER E. WILLIAMS
13                                     Federal Defender

14
     Dated:   June 15, 2016            /s/ T. Zindel________    ___
15                                     TIMOTHY ZINDEL
                                       Assistant Federal Defender
16                                     Attorney for JUAN CARLOS MONTALBO

17
18                                   O R D E R

19
          The above waiver of appearance is hereby approved.
20
          IT IS SO ORDERED.
21
22   Dated:   June 16, 2016
                                       /s/ John A. Mendez__________ _____
23                                     United States District Court Judge

24
25
26
27
28

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